Case zenerPQ®M-\®PM) sommwcml§ilodmne%®m£age 1 Of 2 Page|D 9

 

1. ciR./msT.ml\/. conn
TNW

2. PcasoN REPRESENTt:n
Thuriough, Micheile

 

VOUCHER NUMBER

 

 

3. MAG. DKT.IDEF. NUMBER 4. DlST. DI{T.."DEF. NUMBER

2:05-020256-001- M[

5. APPEALS DKT.."DEF. NUMBER

6. ornchtis&§iltLHllER` @WO/

 

1. m CAS£/MATTER OF s. PAYMEN T CATl-:GORY
U.S. v. Thurlough Felony

(Case Neme)

 

 

9. TYPE PERSQN REPRESENTED
Adult Defendant

 

'“'§§nc§ni:;ee“n o

 

11. orrcwsc(s) cH ARGE:) (cite U.s. cooe, rifle & section
l) 29 SOIC.F ~- EMBEZZLEMENT OF ASSE

ll'more than one o|Te

TS: PENALTY

nse. list (up to tive] major nlfmses charged, according to severit'_\,l nl oll"ens¢.l

. ‘:: i. ¢""!
- `d"'»r...'.)
--l"“`l` {Y`

    

 

lZ. ATTORNEY‘S NAME (First Name. M.I.. Last Name‘ including any sumt)
AND MAIL|NG ADDR.ESS

WILKES, SCOTTIE O.
SUITE 850

200 JEFFERSON AVE.
MEMPHIS TN 38103

'l`elephone Number:

14. NAME AND MAILING ADDRESS OF LAW FlRM {tmly provide perinstructiusss)

 

 

B
%wise satisfied this court that he or she (l) is linancial|y unable to employ counsel and

(2) does not wish to waive counsel, and because the interests ofjusts’ct so require, the
attorney whose name appears in ltem 12 is appointed to represent this person in this case.
Or

1:\ fer ee oscructio:u ` -l
_oh mm MM_ Z. /,wr/;///’

 

lJ. COURT ORDER

m 0 Appointing Counsel

l:l F ths For cherll Del'ender
|:l ll Sul)s For Panel Attoroey

Prim' Altorney's Nlme:

 

,\-
l:`~
en

ll v
ft ".l ' "'! ""
m C Co-Co\msel V' `-J fl -- ititi‘¢'lphk)
|:l R Sllhs For Retained Attorney
l:] Y Standby Counsel

 

Appolntment l)ete:

 

ecause the above-named person represented has testified under oath or has

Signature of`Fresid|ng Judicia| Of!lt'er or By Order o[the Cnurt
ll 7/’) 0/')00 §
Date of Order Nunc ProTunc Date
Repayment or partial repayment ordered from the person represented for this service at
time of appointment [] YES NO

     
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CATEGORIES (Attach itemization ot` services with dates)
15. a. Arraignment andfor Flea
b. Bail and Detentlon Hearings
c. Motlon Hearings
§ d. Trial
C e. Sentencing Hearings
3 f. Revocation Hearings
: g. Appeals Court
h. Other (Specil`y on additional sheets)
(Rate per hour = $ ) TOTALS:
16. a. lnterviews and Confcrences
1? b. Obtalning and reviewing records
0 c. Lega| research and brief writing
; d. 'I`ravel time
§ e. Investlgativ c and Other work (sp¢n'ry nn muslims mem
{ (Rate per hour s- 3 ) TOTAL;S:
l'.'. Travel Expenses (Iodging, parking, meals, mileage, ete.)
IB. Othet' Expenses (other than expert, transcripts, etc.)
w

  

. CERTIFICA'HON OF A'I`TORNEY!'PAYEE FOR TI'lE PERIOD 0 F SERV|CE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Have you previously applied to the court l'ir compensation and/er remlmhursemel\t l'or this case?
Other than from the court, have you, or tnyuur knowledge has anyone e|s e, received
represenlatlon'.’ m YES m N() lfyes. give details on additional sh
l swear oraffirm the truth or correctness ofthe above statements

8¢!5.

19 20. APPOINTMENT TERM|NAT|ON DATE lf. CASE DlSPOSlTION
FROM TO lF OTHER THAN CASE COMPLETION
22. CLAIM STATUS \:\ l-"nsal Pay¢nent I:I listerim Payment Number

payment [compensstion of anything or valne) from any other source in connection with this

l:i Suppiemental Payment
l:|

L__l YES lfyes. were you psid'.' l:] YES l:l NO

 

  

:y§ ~ » m

' ny B-..___- 4 c

IN COURT COMP.

 

....» _` x .. i_-`

24. OUT OF CO\.FRT COMP.

 

 

 

 

    

i

 

 

 

 

 

 

approved in excess ofthe statutorythreshnld amoun

 

23. 25. TRAVEL EKPENSES ll §§.-`O'l"HER EXPENSE; 17 'l'thTAL-AMT. nPl‘R .' CERT
28. SlGNATURE OF THE PRESID[NG JUD[CIAL OFFICER DATE 2$a. JUDGE. f MAG. JUDGE CODE
29. fN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER F.XPENSE.S 33. TOTAL AMT, AFPROVED

34. S[GNATURE OF CHIEF JUDGE,COURTO DATE

lFAP|’ EALS (OR DELE`.GATE) Psyment

342. .IUDGE CODE

 

 

 

 

This document entered on the dockets
With Fiu\e 55 and/or 32{b) FRCrP on

v-

iVet in compliance

‘O

   

UNITED S`AsTE DSTRIC COURT - WERSTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20256 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listcd.

 

 

Stephcn C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lcmphis7 TN 38103

Scottie O. Wilkcs

KYLES & ASSOCIATES, PC
200 chferson Avenue

Ste. 850

l\/lcmphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

